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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  4:10CR3092
                                              )
              v.                              )
                                              )                 AMENDED
DAVID W. SEEVERS, MARCELLA                    )                  ORDER
M. SCHARTON,                                  )
                                              )
                     Defendants.              )

       IT IS ORDERED that as to both defendants, the trial is set for January 10, 2011 at
9:00 a.m. for a duration of five trial days before District Judge Richard J. Kopf in Courtroom
1, United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. Jury selection will be at the commencement of trial.

       DATED this 21st day of December, 2010.

                                             BY THE COURT:

                                             s/ Cheryl R. Zwart
                                             United States Magistrate Judge
